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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




 IN RE: TELEXFREE SECURITIES LITIGATION
 __________________________________________
                                                          MDL No. 4:14-md-2566-TSH
 This Document Relates to:
 ALL CASES




    MEMORANDUM OF DECISION GRANTING MOTION FOR FINAL APPROVAL OF
     SETTLEMENT WITH DEFENDANTS JOSEPH CRAFT AND CRAFT FINANCIAL
             SOLUTIONS, INC. AND CERTAIN RELATED PARTIES
       On July 8, 2020, Plaintiffs filed their Motion for Final Approval of Settlements with

Defendants Joseph Craft, Craft Financial Solutions, Inc., and Related Parties BWFC Processing

Center, LLC, ACE LLP, and Audra Craft; Base Commerce, LLC, Synovus Bank, John Hughes,

Brian Bonfiglio, John Kirchhefer and Alex Sidel. The Court having reviewed the motions for

preliminary and final settlement approval, the settlement agreements, the pleadings, and other

papers on file in this action, and the statements of counsel and the parties, hereby finds that the

motion should be GRANTED.

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      The Court has jurisdiction over the subject matter of this litigation, and the actions

within this litigation and over the parties to the Settlement Agreement, attached hereto as Exhibit

1, including all members of the Settlement Class and Defendants Joseph Craft and Craft

Financial Solutions, Inc. (the “Craft Defendants”) and Related Parties BWFC Processing Center,

LLC, ACE LLP, and Audra Craft (with the Craft Defendants, the “Craft Parties”).


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         2.    For purposes of this Order, except as otherwise set forth herein, the Court adopts

and incorporates the definitions contained in the Settlement Agreement, to the extent not

contradictory or mutually exclusive.

         3.    The Court finds that Robert J. Bonsignore of Bonsignore Trial Lawyers, PLLC,

previously appointed as Lead Counsel for the Settlement Class, and Ronald Dardeno of the Law

Offices of Frank L. Dardeno, William L. Coulthard of Kemp, Jones & Coulthard, LLP, D.

Michael Noonan of Shaheen and Gordon, R. Alexander Saveri of Saveri & Saveri, Inc., and

William Baldiga of Brown Rudnick LLP, previously appointed as members of the Settlement

Class Executive Committee, pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, have

and will fairly and competently represent the interests of the Settlement Class and Igor Shikhman

as Class Representative has and will fairly and adequately protect the interests of the Settlement

Class.

         4.    The Court finds that the prerequisites to certifying a Settlement Class under Rule

23 are satisfied for settlement purposes in that: (a) there are thousands of geographically

dispersed Settlement Class members, making joinder of all members impracticable; (b) there are

questions of law and fact common to the Settlement Class which predominate over individual

issues; (c) the claims or defenses of the Class Representatives are typical of the claims or

defenses of the Settlement Class; (d) the Class Representatives will fairly and adequately protect

the interests of the Settlement Class, and have retained experienced counsel who have, and will

continue to, adequately represent the Settlement Class; and (e) a Settlement Class resolution is

superior to individual settlements.

         5.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court certifies

the following Settlement Class with respect to the Craft Defendants only:



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       Persons who purchased TelexFree AdCentral or AdCentral Family packages and
       suffered a Net Loss during the period from January 1, 2012, to April 16, 2014 and
       submit to the jurisdiction of the MDL 2566 Court. A “Net Loss” means that the
       class member invested more funds than they withdrew.

       6.      In reviewing the settlement, the Court has considered: (1) that the Class

Representatives and Class Counsel have adequately represented the Settlement Class; (2) that the

settlement was negotiated at arm’s-length; (3) that the relief provided for the Settlement Class is

adequate, taking into account the costs, risks, and delay of trial and appeal, Plaintiffs’ proposal to

defer distribution until later in the litigation, Plaintiffs’ limited request for reimbursement of

certain litigation expenses and no attorneys’ fees at this time, and that there appear to be no

agreements required to be disclosed under Rule 23(e)(3); and (4) that the settlement treats all

Settlement Class members equitably.

       7.      In light of the above considerations and after a hearing, pursuant to Rule 23 of the

Federal Rules of Civil Procedure, the Court hereby finally approves and confirms the settlement

terms as set forth in the Settlement Agreement and finds that the settlement is, in all respects,

fair, reasonable, and adequate to the Settlement Class.

       8.      This Court hereby dismisses on the merits and with prejudice the actions in favor

of the Craft Defendants, with each party to bear their own costs and attorneys’ fees, except as

provided in the Settlement Agreement.

       9.      The Releasees are hereby and forever released from all Released Claims as

defined in the Settlement Agreement.

       10.     The notice given to the Settlement Class, via direct email and publication to the

settlement website, was the best notice practicable under the circumstances. Said notice provided

due and adequate notice of these proceedings and of the matters set forth therein, including the

proposed settlement set forth in the Settlement Agreement, to all persons entitled to such notice,

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and said notice fully satisfied the requirements of subdivisions (c)(2) and (e)(1) of Rule 23 of the

Federal Rules of Civil Procedure and the requirements of due process.

       11.     Those persons/entities identified in the list attached hereto as Exhibit 2 are validly

excluded from the Settlement Class. Such persons/entities are not entitled to any recovery of the

settlement proceeds obtained in connection with the settlement.

       12.     Any member of the Settlement Class who failed to timely and validly request to

be excluded from the Settlement Class shall be subject to and bound by the provisions of the

Settlement Agreement, the Released Claims contained therein, and the Final Judgment with

respect to all Released Claims, regardless of whether such members of the Settlement Class seek

or obtain any distribution from the Settlement Fund.

       13.     Four objections to the settlement were filed. The objections are hereby overruled.

       14.     Without affecting the finality of the Judgment in any way, this Court hereby

retains continuing jurisdiction over: (a) implementation of the Settlement Agreement and any

distribution to Settlement Class members pursuant to further orders of this Court; (b) disposition

of the Settlement Fund; (c) hearing and determining applications by Plaintiffs for attorneys’ fees,

costs, expenses, and interest; (d) the actions until the Final Judgment has become effective and

each and every act agreed to be performed by the parties all have been performed pursuant to the

Settlement Agreement; (e) hearing and ruling on any matters relating to the plan of allocation of

settlement proceeds; and (f) the parties to the Settlement Agreement for the purposes of

enforcing and administering the Settlement Agreement and the mutual releases contemplated by

or executed in connection with the Settlement Agreement.

       15.     The Court finds, pursuant to Rule 54(b) of the Federal Rules of Civil Procedure,

that Judgment should be entered and further finds that there is no just reason for delay in the



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entry of Judgment as to the parties to the Settlement Agreement. Accordingly, the Clerk is

hereby directed to enter Judgment forthwith for the Craft Defendants.

         16.   The Court’s certification of a Settlement Class as provided herein is without

prejudice to, or waiver of, the rights of any non-settling Defendant to contest certification

of any non-settlement class proposed in this Action. The Court’s findings in this Order

shall have no effect on the Court’s ruling on any motion to certify any non-settlement class

in this Action; and no party may cite or refer to the Court’s approval of any Settlement

Class as persuasive or binding authority with respect to any motion to certify any non-

settlement class or any other dispositive motion filed by a non-settling Defendant. Nor shall

such final approval prejudice any rights, claims, or defenses of any non-settling Defendant.

         17.   Massachusetts law, including the provisions of M.G.L. c. 231B, §4 which

bars contribution actions against joint tortfeasors who settle in good faith, without regard

to the principle of conflicts of law, shall govern the enforcement and interpretation of the

Final Judgment and any other claims arising under or in any way related to the TelexFree

Pyramid Scheme.



IT IS SO ORDERED.


Dated:    7/28/20_____                                       /s/ Timothy S. Hillman___
                                                              Hon. Timothy S. Hillman
                                                              United States District Judge




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